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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
NATHANIEL SPRIGGS,                                          :      Civil No. 1:22-CV-01474
                                                            :
                    Plaintiff,                              :
                                                            :
                    v.                                      :
                                                            :
CITY OF HARRISBURG, et al.,                                 :
                                                            :
                    Defendants.                             :    Judge Jennifer P. Wilson
                          AMENDED CASE MANAGEMENT ORDER
           AND NOW, on this 1st day of September, 2023, as requested by the parties

during a telephone conference held on August 30, 2023, IT IS ORDERED that the

original case management order, Doc. 23, is confirmed, except with respect to the

amended case management deadlines as follows:

            Amended pleadings:                                               September 29, 2023
            Status Conference:1                                              November 22, 2023, at 11:30 a.m.
            Discovery Disputes:                                              November 17, 2023
            Fact discovery:                                                  December 29, 2023
            Dispositive motions and supporting briefs:                       April 30, 2024
            Plaintiff’s expert reports:                                      January 31, 2024
            Defendant’s expert reports:                                      March 1, 2024
            Supplemental and rebuttal expert reports:                        March 15, 2024
            Expert discovery:                                                April 12, 2024
            Motions in limine and supporting briefs:                         May 8, 2024
            Pretrial memoranda:                                              June 5, 2024
            Proposed voir dire and jury instructions:                        June 5, 2024
            Final pretrial conference:                                       June 20, 2024
            Trial:                                                           July 1, 2024

                                                      s/Jennifer P. Wilson
                                                      JENNIFER P. WILSON
                                                       United States District Court Judge
                                                      Middle District of Pennsylvania



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    The parties shall call-in to the conference call number 877-336-1828, using the access code 2529544.
